                                                                                              CLE6K'SAT
                                                                                                     OFROANO
                                                                                                        FICEtJs.DIsT. GOuR7
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                                                                                                             FILED
                       IN T H E U N ITE D STATES D ISTRICT CO U RT
                       FO R TH E W E STE RN D IST RICT O F W R GIN IA                                MA2;72219
                                         ROAN OKE DIW SION                                      BYJU
                                                                                                   :
                                                                                                     I
                                                                                                     A   .
                                                                                                               LEM C
  RQGER E H ICKS,
                .
                                                                                                               CLERK

          Plaintiff,
                                                             Case N o.:7:17-cv-00247
  V.



  CM U LION M ED ICAL CEN TER ,
                                                             By: M ichaelF.U tbansld
          D efendant.                                        ChiefUnited StatesDisttictJudge

                                     M EM ORAN D UM OPIN ION
          Tlliscase com esbefore the courton D efendantCarilion M edicalCenter's

  tffcnHlion''lmoéonforsllmmaryjudgment,filedon October29,2018.ECF No.57.
  PlaindffRogerE.I-licksrflqicks')respondedonNovember19,2018,ECF No.61,and
  Cntilion responded on December3,2018,ECF No.62.JudgeDillon heard argumenton
  D ecem ber12,2018.ECF N o.66.Forthereasonsstated below,Cntilion'sm odon is

  GRAN TE D ,allclnim sareD ISM ISSE D ,and thiscaseisST RICK EN ftom theacdve

  docket.



          I'
           Iicksbegan wotking forCnHlion in G uestServicesin 2013,butshortly theteafter

  wasmovedtotheMain OpetatingRoom r<OR>')asapetiopetadvetechnician (dTOT'').1
  ECF N o.61-1,at39.Cntilion isan EqualEmploym entEm ployetand prollibitsany type of

  w orkplaceviolence.ECF N o.57-11,at28.H ickswasaw are ofthisand w asprovided with.


  1Specifcally,Hicksworked atCazilion RoanokeM emodalH ospital,a hospitalwitlain theCae on lxm brella.ECF N o.57,
  at2.



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  som ettaining concerrling Cltilion'spoliciesprohibidng hatassm entand workplace violence,

  though the extentand effk acy ofthattrainingisdisputed.zECF N o.61-1,at63-68.

          ChristopherK uttzwasunitdirectozin them ain operadng room and H cks's

  immediatesupervisor.ECF No.57-4,at3.Kurtz'sevaluationofI'Iicks'sjobperfo= ance
  dllting2013and 2014waspositi
                             ve;KIM:I wrotein his2014review thatH-
                                                                 icksQonductgedj
  hitnselfprofessionally,providegdjexcellentpadentcateand gwasjpleasurabletowotkwith.''
  ECF No.61-13,at3.Inlanuary2
                            .015,afterasplitin managementstructurethatputPOTs
  andperianesthesiatechniciansrTATs'')indifferentbillingandmanagementdepartments,
  K lltq'masked thatT'
                     Iickscoordinate the PO T schedule.ECF N o.1.

         I'Iicksclnim sthatthecom plained-ofhatassm entand disctim inadon began with the

  changein hisposiéon zesponsibio es.ECF N o.1.l'iicktbelievesthe problem sto berace-

  based and clnim sthatTom m yYetkey,a Catilion PAT who had previously coorHinated the

  schedulebeforethe splitin depar% ents,wastfoffended by Hicks,ablack m an,taldng his

  jobdudes.''ECF No.61,at2.Hickstestzeddutinghisdeposidonthatatthistime,noother
  A fdcan-Am erican had been given extra responsibilidesand lliscow orkershad neverhad a

  problem with w hite cow orkersreceiving these sortsofresponsibilities.ECF N o.61-1,at38.

  Iqickstesdfied thataoncehebegan coorclinaéng the schedule,rfallhellbroke loose,and I

  reallyfeelthatitwasbecauseIwasblack''Ld-aat38,butalso testxed thatno oneever
  directly told him thatracewasthereason forany dislike,id.a




  2W hen askedaboutthelevelofharassm entatzd sensidvitytrnining,N tuseand Carilion employeeShelbyAzaranswered,
  .* ehavean nnnualin-servicethatwehaveto com pleteon thecomputer;everyemployeeisrequiredto com pletethat
  aboutharassm entand cliscrim inadon.''ECF N o.61-2,at8.                                                    '

                                                      2
Case 7:17-cv-00247-MFU-RSB Document 71 Filed 03/27/19 Page 2 of 22 Pageid#: 989
         I'Iicksclnim sthatlniscow otkersbegan dftenting down''and ffripping up''the paper

  copiesofthe scheduleshe m ade.ECF N o.61-1,at32.H e testifed thattherewerem any

  timeswhenhiswllitecoworkersffwenttoChdsltlaf'tmandfabricatedalie,justfornoteason
  atall...'rhetewere thosetype ofincidentsthatensued.''ECF N o.61-1,at46.H cks

  tecountsoneincidentw hich involved coworketBeckyRussell,aPAT w ho,aftetan incident

  in wllich Hickscorrectly idendfied athoracotom y,com plained to Yerkey thatfrthey think

  they know everytlaing,''and then flled acom plaintagainstI'Iickswith Iilltq+.Ji at49.I-licks
                                                                              .




  assum ed thatfTthey''teferred to African-Am ericansbecause hewastheonly African-

  AmericanPOT and Tftl'leonlyblack person ofthesecrewsthatwasin school.''IZ at52.
  H cksadnnitled thatRussellneversaid anything thatexplicitlyindicated herresentm entwas

  race-based buttesdfiedthatshenevermadesuch remarksaboutawhitePOT.I.
                                                                    I.
                                                                     L
         Severaldisdnctincidents,howevet,ate alleged in thecom plaintand docum ented by

  Cntilion em ploym entrecords'.SeeECF N o.1.The firstofthese occutted in D ecem ber2014

  whenllickswaspushedbyaCaucasiancoworker,PaulffAlex''Perdue,justafterI'Iickshad
  returned to w otk aftertaking leave forback surgery.1d.at3;ECF N o.61-1,at58.I-licksand

  corroborating witnessY ussefM usa clnim thatthe discussion leading to the incidentfocused

  on footballbutdevolved into Perdue calling H icksffRogerDicks''and I-Iicksshowicg his

  idendfkadon badge to Perdue to convince Petdue to use the correctnam e.ECF N o.61-1,at

  58;ECF N o.57-7,at2.Perduewasterm inated following an invesdgadon into the event.

  ECF N o.57-4,at6-7.

         In eatly Augustof2015,H ickshad anotheraltercadon,tllisHm ewith D arrylPerry,a

  PAT.ECF No.61-1,at98.Johnlohnson,anAfdcan-Amedcan ClinicalTeam Leader,and


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     Bryan Hodges,anotherPAT,b0t.hwitnessed theevent.J-I.
                                                        LHickswaswalking down the
     hallway and had forgotten to wearllisO R hat.JI
                                                   Jz.W henlohnson pointed thisoutto him
                                                          .


 '


     and rerninded him to puthishaton,I'Iicksclnim sPerry called him rfan idiot''and a fffucking
     %                            e


     faggot.''1d.H odgesand Perry,on the otherhand,clsim ed in em ailssentto m anagerBilly

     BelchetthatI'lickshad called Petryan idiot,and thatI-lickshad a historyofaggtessive,

     unprofessionalbehavior.ECF N o.57-11,at33-35.I-ticksreported theincidentto Belcher

     and lefta m essage on rf7-safe,''an anonym oushotlinçused atCs3t-ill
                                                                        ion.3ECF N o.61-1,at

     76.H eclnim ed heteceived no tesponse.Id.ln llisdeposition,I-licksadnaitted thatthe tetm s

     Ttidiot''and fffaggot,''while ofcourse offensive,atetace-neuttal.1d.at71.

            On August24,2015,I-lickssentan em ailto Carilion CEO N ancy Agee reporting that

     hewasexperiencing harassm ent;theem ailm entioned theincidentwith D arrylPerry directly.

     ECF N o.61-22.Seealso ECF N o.61-9,at7.Agee forwarded thisletterto H eather

     Shepardson,theVicePresidentofHum an Resources,who sentitto H R ConsultantN aom i

     Powets.ECF N o.61-22.On February 10,2016,Hickssentanotherem ailto Agee,again

     asking forassistance.ECF N o.61-9,at8.The end resultofthese com plnintswasthatIqicks

     wastransferred from w eekday shiftsto weekend slliftsto avoid futtzreptoblem swit.h

     coworkèrs.ECF N o.61-1,at189.Thiswasa largely posidve change- the transferwas

     accom pal ed by apay increase and seem ed to resolve I-Iicks'sworkplacecom plaintsfor

     severalm onths.ECF N o.61-1,at187.




     3'
      Lsafeis% hotlinetlzat(employeesqcalland(jreportsafetyconcems,anysot'tofuntowazdg)behaviorofaphysician
     orenvironmentalsafetyconcerns,equipmentfailureconcems,(and)emplpyeebehavior...youleaveamessage.
                                                                                                   ''ECFNo.
     61-2,at6.
                                                      4
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         Onluly22,2016,I'IickshadaEnalaltezcadonwithPhilipMuse,anAfzican-
  AmericanPOT.ECF No.61-1,at145-46.I-licksallegesthathewasspeakingwithlohnson
  aboutacasew hen M useheatd hisnam e m entioned in the course oftheconversadon.LdaAt
                                                                                    .




  thispoint,I-licksclnim sthatM use said,to on'tletm e hearyou speak m y nam e outofyou.
                                                                                       r

  mouth,bitchassn****r.''Ll.
                           laMusedenieshavingmadethiscomment,andlohnsondenies
  having heard it.ECF N o.57-2,at89ECF N o.57-10,at2.Anotheralleged confrontadon

  occtered laterthatday;Muse'reportedto KtutzthatI-licksthreatenedto ffknock ghimloutin
  theparking1otat7 pm .''ECF No.57-11,at10.Fourindivibualssentemailstatem ents
  regarcling eitherone or130th ofthese confrontadonsstadng thatI'licksw asthe aggtessor.

  ECF N o.57-11,at10-16.

        I'Iickswassuspended and escorted offthepropetty following thisincidenton

  Cntilion'sbeliefthatthetew asa fTvery good chance''thatHicks'sthreatsagainstM usewete

  serious.ECF N o.57-11,at2.Powetsconducted an itw esdgadon,forwhich sheinterdewed

  Hicksand six otherem ployees.SeeLd.
                                    ,aat73-78.Powersconcluded thatI-licksw asthe

  inségatoroflloth confrontadons.1d.at78.N o oneinterviewed dllting thisitw esdgadon

  otherthan Iqicksclsim ed to haveheardM useusearacialslur.Seeidaat73-78.Stephen
  Lovern,SeniorDirectorofO peradng Room Services;G ary Schotq llissuperior;and

  Shepardson allm ade the decision to terminateIqicks.ECF N o.57-5,at8.

                                             II.

        Pursuantto FederalRuleofCivilProcedure56(a),thecourtmustffgrantsummary
  judgmentifthemovantshowsthatthereisnogenlAitnedisputeastoanymatetialfactand
  themovantisentitled to judgmentasamatteroflam ''Fed.R.Civ.P.56(a);CelotexCo .v.

                                             5
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  Cattett,477U.S.317,322(1986);Glnnv.EDO Co .,710F.3d209,213(4thCit.2013).
  W hen m aking thisdeternainadon,tlzecotlrtshould consider fftlze pleadings,deposidons,

  answerstointerrogatories,and adrnissionson file,togetherwith...ganyjaffdavits''flled by
  thepatdes.Celotex,477U.S.at322.W hethetafactism atetialdependson thetelevant
  substandvelaw.Andetsonv.Libe Lobb Inc.,477U.S.242,248(1986).Tfonlydisputes
  overfactsthatrnkhtaffecttheoutcomeofthesuitunderthegoverlnglaw w:
                                                                  illptoperly
  precludetheentryofsummaryjudgment.Factualdisputesthatareittelevantotunnecessary
  willnotbecounted.''1d.(citadon omitted).Themovingpartybearstheiniéalbutden of
  dem onstraéng theabsenceofagenuineissue ofm aterialfactand m ay ptevailby showing

  ffan absence ofevidence to support''an essentialelem entofthe nonm oving party'scase.

  Celotex,477 U .S.yt323.Ifthatbutden hasbeen m et,thenonm oving partym ustthen com e

  forwatd w1t.
             11specihcm aterialfactsthatprovethereisagenlline disppte fortrial.M atsushita

  Elec.Indus.Co.v.ZenithRadioCo .,475U.S.574,586-87(1986).
        In determ ining whethetagenlxineissue ofm aterialfactexists,the courtviewsthe

  factsand dtawsallreasonableinferencesin thelightm ostfavorableto thenonm oving patty.

  G-l
  . y= ,710F.3dat213(citingBondsv.Leavitt,629F.3d369,380(4thCir.2011)).Although
  fftheevidenceoftlzenommovantistobebelieved,andalljusdfableinferencesaretobe
  drawn itzllisfavor,'''M cAitlaids Inc.v.Iom berl -clark Co .,N o.13-2044,2014 W L

  2871492,at*1 (4th Cir.2014)(internalalteration omitted)(citingTolanv.Cotton,134S.Ct.
  1861,1863 (2014)@erclxHnmll,ffgtlhemereexistenceofascinti
                                                          llaofe'
                                                                videncein supportof
  the (nonmovant'sjpositionwillbeinsufficient''to overcomeslnmmaryjudgment.Anderson,
  477 U .S.at252.Rather,agenuineissue ofm aterialfactexistsonly ffifthere issufhcient


                                              6
Case 7:17-cv-00247-MFU-RSB Document 71 Filed 03/27/19 Page 6 of 22 Pageid#: 993
  evidencefavoringthenonmovingpartyforajurytoreturn averdictforthatpatty.''Res.
 BanksharesCo .v.St.PaulM erc Ins.Co.,407F.3d631,635(4thCir.2005)(quoting
 Anderson,477U.S.at249).fflnotherworés,tograntsummaryjudgmenttherclourtmust
  detetminethatnoreasonablejurycould:ndforthenonmovingpartyontheevidence
  beforeit.''Mossv.ParksCo .,985F.2d736,738(4thCir.1993)(citingPeriniCo .v.
  PeriniConst.,lnc.,915F.2d 121,124(4th Cir.1990)).
                                              111.

         I'
          Iicksbringstvo countsin laisComplaintpursuantto42U.S.C.j1981andTitleVII
  oftheCivilRightsActof1964,42U.S.C.j2000e.ECF N o.1.ColmtlisaCbim forRace
  D isctim ination,allegm
                        ' g thatCntilion ffdisctim inated againstplaindffin violadon offederal

  law in thatgfytilionl:
         (a) classihedplaindffon thebasisofhisrace;
         (b)disctiminated agninstpbindffwith tespecttotheterms,condidons,orprivileges
            ofem ploym entbecause ofhisrace;
         (c)pe= itted awork environmentto existatdefendants'facilitythatwastacially
            offensive and hosd e to A frican-Am erican workers,including plnindff;
         (d)hatassedandretaliatedagainstplaintiffbecauseoflniszaceandforcomplnining
            aboutdefendants'(Iisctim inatorypracdces;and
         (e)te= inatedplnirtiff'semploymentbecauseofpbindff'srace.''
  Id.at4-5.Count11bringsa Cl/im forRetaliatoryD ischargeand aEegesthatCarilion

  fu sctim inated againstplaindffin violadon offedetallaw in thatdefendantsharassed and

  retaliated againstplaintiffand term inated lzisem ploym entforcom plaii ng aboutthe

  harassm entand hostilework environm entin violaéon ofTitle V11ofthe Civilm ghtsActof

  1964...'1Id.at8-9.

         Inthesetwocounts,thereseem tobetht'eepotentialclnims:(1)hostilework
  environment(CountI);(2)tacialdisctiminationthtoughadverseemploymentacdon(Count

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  1);and(3)retaliadontcount11).ECF No.1,atzI-9.Iqicksfailstomakeashowingthata
  reasonable facto dercould find forhim on any ofthese three clnim s,forthereasons

  explained below .

                                              A.

        Thestandazdusedtoevaluateatacialhostilewozkendtonmentclaim undetj1981is
  thesameasthatusedundetTitleV11.42U.S.C.A.j1981;42U.S.C.A.j2000e;Freemanv.

  Dal-TileCo .,750F.3d 413,427 n.7 (4th Cir.2014).To surviveslzmmaryjudgmenton a
  cleim ofaraciallyhostileworkenvitonment,pbinéffmustshow thatareasonablejurycould
  findtheharassmentwas:(1)unwelcome;(2)basedonrace;(3)suffcientlysevereor
  pervasivetoaltettheconditionsofemploymentandcreateanabusiveatmosphere;and(4)
  known to the em ployerw ho failed to takeeffectiveaction to stop it.E.E.O .C.v.Xerxes

  CP-T-
  .   .,639F.3d658,669(4thCit.2011).Indecidingwhetheranemployethascreatedan
  abusiyew orldng envitonm ent,the courtm ustexam ineallthe citcllm stances,inclucling the

  frequency ofthe disctim inatory conduct,itsseverity,whethetitwasphysically threatening or

  hum iliadng,orm etely an offensive uttetance,and w hetheritunreasonably intetfered with an

  employee'sworkpetfotmance.Bo er-Libertov.Fontainebleau Co .,786F.3d264,277 (4th
  Cir.201$.
         Hickshasprovided m ote than sufficientevidencethatthe behaviorhe faced at

  Carilion w asunw elcom e,buttherecord isconflicted asto whethezany ofthe alleged

  harassm entwasbased on race.O fthe incidentsI-licksreports,only oneinvolvesan explicitly

  race-based sltu- ldicks'scontention thatM use called him a fKbitch assn****r.?'The other

  incidentsm ake no m ention oftace,butthison itsown doesnotbarareasonable fact-finder


                                              8
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  from concluding theyw ere,in fact,m otivated by racialanim us.SeeM aztin v.M etck & Co.,

  Inc.,446F.Supp.2d 615,629 (W.D.Va.2006)(exnminingthecontextinwhic'
                                                                   h two
  incidentsofharassm entthatm ade no m endon ofraceoccutred and Ending thata

  teasonablefact-findetcould condudetheseincidentswetebased on tace).Thecokutm ay
  exam ine the sturounding circum stancesoftheseincidents,including thetim e petiod in

  which theyoccurred,theindividualsinvolved,and how areasonableperson mkhtintemret
  whatwassaidand done.J.
                       i
         I-licks'sexplanadon forthesedifhculties,how ever,iscontested by m any ofllis

  cow orkers.M ore than one fellow Cntilion em ployee described Ilicksasaggressive and angry.

  M usestatedthatI'Iickswasffmean''andwouldreferio othersasdfdumb.''ECF N o.57-2,at

  4-5.O ther,lesspotentially biased individualsalso reported behavioralissueswith Hicks.

 Johnson,someoneofwhom I-licksthoughthigllly and trusted,ECF No.61-1,at23,stated
  thathewitnessed I'Iickshave conflictswith coworkersbutneversaw anything thatled him

  to believetheproblemswererace-based,ECF No.51-10,at1.Instead,lohnson testzed
  thathehad heard H ickscallcow orkersTfdum b''and dfsttzpid,''and thatI-licksffseem ed angry,

  like hehad aclaip on llisshotzlder.''1d.

         W hileRussell,in rem arking thatTdthey''think they know everything,m ade no explicit

  m entbn ofrace,the cout'thndsthata reasonable facto dercould perhapsconclude by a

  prepondezance ofthe evidencethatthiswasarace-based com m ent,dueto thecontextin

  wllich itoccutred.The derogatory wordsPerryisalleged to haveused are,asCarilion points

  outand Iqicksconcedes,race-neutral,butcontextand pastexpedencewith acow orkercan

  coloranyexchange,and Tçgflaciallyneutralincidentsm aybesufhcienttoestablish ahosie

                                               9
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  work environm entcbim ''ifthereisffsom e circllm stanéalorothetbasisforinferting that

  incidentsthatategtacej-neuttalon theirfacewerein factdiscHminatory.''Flemin v.
  MaxMaraUSA,Inc.,644F.Supp.2d247,262-63(E.D.N.Y.2009).GrandngHicksan
  assum péon ofcredibilityand m alting allreasonable inferencesin hisfavor,areasonable

  factO dercouldperhapsconcludethatPerrfscommentsweteraciallymoivated,giventhe
  racialm ake-up ofthe staff,the shiftin H cks'szole,and the pastincidentsalleged.SeeECF

  No.61-5,at3X ckswastheonlyAfrican-AmericanPOT besidesMuse);ECF No.61-1,at
  238g-licksneverheardPerrycallawlliteemployeeaTffaggot''oranffidiof);idaat32(othez
  employeestoredown Iqicks'sschedules);Ld.sat49(RussellcomplainingtoYerkey).
        O fcourse,the alleged use ofthe slur<<n****z''isundoubtedly zace-based.See

  McFinestv.GTE ServiceCo .,360F.3d1103,1116(9thCir.2014)rfltisbeyondquesdon
  thattheuse ofthew otd fn****F ishighly offensive and dem eaning,evoking ahistory of

  racialviolence,brtztality,and subotdination.').Theword isperhapsthesingleEnglish word
  m ostpardctzlatly Kfexpressive ofzacialhatred and bigotrp''Swinton v.Potom ac Co .,270

  F.3d794,817(9thCit.2001).CarilionpointsoutthatMusedenieshavingeversaidanything
  likewhatH cksalleges,ECF No.57-2,at8,and thatlohnson,whowitnessed theentite
  event,cotroborateshisaccount,ECF No.57-10,at2 gohnson statesin l'sisafhdavit,ç<Atno
  Hm e dudng the altercation between M use and FIicksdid IheatM use callI-licksany racially

  derogatory nsm e,including Tbitch assn****z.'Iflhad heard thatterm ,Iw ould have

  reported itto H llm an Resourcesand putitin theattached e-m ailsdescribingwhatIsaw and

  heard.'l.Cnrilion also atguesthatM usehimselfisAfrican-Amedcan,and tlmseven
  assum ing the eventoccutzed asIqickscbim s,itlikely wasnotm odvated by I'Iicks'srace.



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  ECF N o.57,at21.C/tilion citesto Curriev.0 th1.
                                                1:,N o.1:11-cw=892,2012W L 1715390,at

  *4(E.D.Va.May15,2012),inwhichtheplnindffclnimedthatawatetmelonwithaholeinit
  lefton llisw ork stadon by an A frican-Am erican coworkerconsdtuted an incidentofrace-

  basedharassment.Thecourtexpresseddoubtastowhetheranyjurycotlldftndthata
  waterm elon leftby oneA fdcan-Am erican on the desk ofanotherA frican-Am erican was

  racially m odvated.Id.

            InTownev.Eisner,245U.S.418,425(1918),JusdceHolmeszemarkedthatffgaj
  wotd isnota crystal,transparentand unchanged,itisthe sk'
                                                         in ofaliving thoughtand m ay

  varygteatlyin colorand contentaccorcling to thecitcl'm stancesand the Hm ein w llich itis

  used.''Atleastonecourthas,however,tefused to supportan em ployerwho took acdon

  againstawlliteemployee foruse ofthew otd (<n****r''whiletaking no acdon against

  African-Am erican em ployeesforuseofthe sam e.SeeButlin ton v.N ewsCo .,759 F.

  Supp.2d580,597(E.D.Penn.2010).FoM nately,thecourtneednotwadeintothisthotny,
  histodcally-loaded,and potenéallyinflam m atoryissue.l'Iicks'sfailureto provide enough ofa

  showing thatthe hatassm entalleged wassuffkiently sevezeand pervasiveorthatCarilion

  wasnegligentin itscontrolofthewotkplace environm entm andatesthe dismissalofthis

  clnirn.

            'I'hefffsevezeorpervasive'elementofahatassmentcbim hasbothasubjecdveandan
  objecdvecomponent.''Harrisv.Forklif'tS s.Inc.,510U.S.17,21-22 (1993).To detetmine
  ifawo'rkenvironmentwasobjecdvelyhostile,thecourtmustlooktothetotalityofthe
  circum stances,inclucling the frequency ofthe disctim inatoryconduct,itsseverity,whetherit

  isphysicaEy threaterling othllm iliating zathetthan am ere offensiveutterance,whetherit


                                              11
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  unreasonably interfetesw1t.
                            14work perform ance,and whatpsychologicalhnt.
                                                                        m

  resulted.See H arris,510 U .S.at21-239Connerv.Schrader-Bzid e ortlnt'l Inc.,227 F.3d

  179,193(4th Cir.2000).Tllisstandatdisafqdemancling'?one.Fara her,524U.S.775,788
  (1998).Nooneisguaranteedfftefinementandsoplzisdcadon''intheitinteracdonsatwork.
  Mntfinv.Merck& Co.,446F.Supp.2d615,628-29(W.D.Va.200$.Rather,theyare
  protected only from fTharassing behaviorthatisso severe orpervasiveasto renderthe

  workplaceobjecévely hosdleorabusive.''Hartsellv.Du 1exProds.Inc.,123F.3d766,773
  (4thCir.1997).
        Hicks'sdesczipdon oftheCarilion work environm entisfarftom ideal.The record

  m akesclearthatI-Iickshad issueswith nllm erouscoworkers.Even ifLIicks'saccountis

  accepted in f'ull,however,theseincidentsarenotsufhciently severeotpervasive to alterthe

  condiuonsofem ploym entand create ahostilework environm ent.I'
                                                               Iicksworked atCstilion

  forapproxim ately threeyears.SeeECF N o.61-1,at39.The alleged hatassm entdid not

  begin until2015,m ore than a yearafterhewashired.SeeECF N o.1.A fterthispointa

  I'
   Iicks'scomplaintmendonsthteespecihcconfrontadons:(1)Perduepushinghim aftera
  conversationaboutsports;(2)Perrycallingllim anff
                                                 icliot'?andaTffaggot'';and(3)M use
  calling him a Ttbitch-assn****r.''See enerall ECF N o.1.Besidesthese,Hickstecounts

  instancesofcoworkersfabricadng com plaintsagninstlnim and Russellcom plaining to

  Yerkey that'ftlaey''think they know everything in a convetsadon thatwasoverheard by

  I'
   Iicksbutwasnotm eantto includehim .M aking alllogicalinferencespossible.
                                                                          in H cks's

  favor(asthecourtmustinaslnmmaryjudgmentapalysis),threedirectconfrontations,one
  overheatd conversadon,and complaintsmadeoutofHicks'spresencethat(so farasthe


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   record shows)resulted in nonegatiVeemploymentconsequencescannotbefound
   sufhciently severe orpervasiveto form thebasisofa hostilework envitonm entcbim .See

   ECF No.61-1,at55 (HickstestzesthatKUttZdidnotdisciplinehim in anywayfollowing
   Russell'scomplnint).See e..Hopkinsv.BaltimoreGasand Elec.Co.,77F.3d 745,753
   (4thCit.1996)((fA handfulofcommentsspteadovetmonthsislmlikelytohavesogteatan
   emodonalimpactasaconcenttated otincessantbaztage.');Mustafav.lancu,313F.Supp.
   3d684,695(E.D.Va.2018)(fcokutshavetoutinelynotedthatwhete,ashete,theazeged
   harassm entinvolvesisolated or scattered incidentsoccutring overthe course ofsevetal

   m onths,the conductisnotpervasive enough to statea clsim forhosdlework

   environment.');Sonnierv.DiamondHealthcareCo .,114F.Supp.3d.349,357(E.D.Va.
   2015)(holdingthatthreeinstancesofhatassmentwithin atwomonthperiodisffreladvely
   infrequentlj'').
           O neofthekey factorsin thisanalysisishow m any ofthese alleged incidentswete

   noteven directed atHicksand occutred outsideofltispresence.zfTake Hicks'scomplaint

   tegarcling Russell'sdiscussion w1t.11Yerkey ofhow ffthey believe they know everything''-

   while the conversadon concerned I'licks,hewasnotapardcipantin itand nothing said was

   directedathim.ECF No.61-1,at52.Second-handharassment,whileobjecdonableand
   unpleasant,islessconcerningin aTitleV IIcontextthan directinstancesofaggression.

   M nttin,446F.Supp.2d at629.W llitev.FederalEx .Co .,939F.2d 157,160(4th Cir.
   1991),dealtwithaclnim ofaraciallyhostileworkenvitonm entbased on oneincidentof
   racially offensiverem arksexchanged by black and whiteem ployees,conflictszegarding


   4HicksclnimsitzhiscomplaztthatYergerfftulkeddownaboutgHicksjtogl-
                                                                   licks's)subozdinates.''ECFNo.1,at3.


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   m usic selection,allegadonsthatblack em ployeeswereadm onished to return to work when

   wllite em ployeeswere not,and allegaéonsofunequaladvancem entforblack and wlaite

   em ployees.Thecolzrtnoted thatm ostofthese incidentsw ere notdirected againstthe

   plnindffand foundno causeofaction fotazaciallyhosdleenvironment.LdaOthercotzrts

   havealsozejectedclaimsofahosélewozkene onmentaftetexlminingincidentsofindirect
   hatassm ent.M atlin,446 F.Supp.2d at629,fotm d thatthreeplaindffscould notshow theit

   work envitonm entto bç tacially hosl eafterobserving thatseveralofthesixteen incidents

   reported werenotdirected atthe plainéffs,and som ew ere noteven witnessed.D iscussions
                                                                   .




   and com plaintsthattake placebelzind som eone'sback m ightm ake thei.
                                                                       tway back to that

   personandaffecthisexperiencein theworkplace,butthisisobjecdvelylessseverethan
   insultsand actsofaggression m ade faceto face.SeeW hite,939 F.2d at1609M ardn,446 F.

   Supp.2d at629.

         Besidesthis,none ofthealleged harassm entcam efrom supervisotsorm anagersat

   Cntilion.SetECF No.61-1(noneoftheincidentsrecountedbyHicksitwolvedany
   individualabovehim ontheCstilionemploymentllieratchy).fflnmeaslltingthesevedtyof
   harassing conduct,the statusoftheharasserm ay bea signifcantfactory''since <<a

   superdsor'spowerand authorityinvestsl'
                                        lisorherharassing conductw1t.1,
                                                                      1apatécular

   threateningcharactet''Sonnierv.Diamond HealthcareCom.,114 F.Supp.3d 349,356 (4th
   Cir.2015).Hickshadconfrontadonsandnegadveintetacdonswith severalindividualsat
   Carilion,butallw ereeitheron a sim ilarnm g on the em ploym enthierarchy orin adifferent

   depattmentthathad noinfluenceoverhisemployment.SeeECF No.61-1 (Russell,Yerkey,
   and PerdueweteallPATS,and Musewasafellow PO'l).Thefactthatnoneoftlaese



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   individualswielded professionalpower overHicksrenderstheseinstanceslesssevere and

   heightenstheshowing I'Iicksm ustm ake to show ahosdlew ork environm ent- a showing

   H ickshasnotm ade.SeeSonnier,114 F.Supp.3d at356.

         Finally,I'Iicksfailsto show thatCatilion did nottakeacdon to haltand preventracial

   hrassm ent.W hen a plaintiffishazassed by co-workersratherthan am anagerora

   supervisoz,an em ployerm ay only be held liable ifthatem ployerTfw asnegligentin

   contzolling working condidons.''Bo er-Liberto,786 F.3d at278.Ifan em ployerknew or

   should haveknown abouthatassm entand failed to take effecdveacdon to stop it,that

   em ployerbecom esliable fottheharassm ent.ld.If,however,an em ployertakesacdon and

   theacéon causestheharassmentto cease,then theemployerrsliabilityends.M clunne v.

   G4SGov'tSols..Inc.,179F.Supp.3d609,625(W.D.Va.2016).
         The recotd show sthatCarilion took action following H cks'scom plaintsregatding

   race-based hrassm ent.AfterI'
                               Iickswaspushed by Pezduein D ecem ber2014,Klxtq'm

   quesdoned Llicks,Petdue,and num erousotherwitnessesto theincidentin hiscapacity asa

   m anager.ECF N o.57-4,at6-7.Perduew assenthom e on suspension im m ediately,pending

   theresultsoftheinvesdgadoninto theconfrontadon.LdaW hileIqicksreceived aTfwdtten

   perfo= anceimprovementdiscussion''forwhatwitnessesdescdbed asTfviolating (Perdue'sj
   personalspacel''with hisemployeebadge,Pezduewasftred aftettheinvesdgadon concluded
   thathe had com m itted aphysicalactofviolencein thew orkplace.Ld=Cqti
                                                                   .   lion'stesponseto
   theincidentwasprom pt,thozough,and effective,and thuscannotbe deem ed negligent.See

   Bonenber erv.Pl outh T .,132F.3d20,26 (31d Cir.1997)(statingthatan employer's




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   zem edialacdonsinsulateitfrom liabilityifthey are ffreasonably calculated''to prevent

   furtherharassrnent).
          A fterI-Iicks'sconftontadon w1t.
                                         11Perry in August2015,Cstilion again conducted an

   invesdgaéon and received differing accounts.H icksclnim ed Perry called him an dfidiot''and

   afffuckingfaggot''withoutanyprovocadon.lohnsonandBryanHodges,anotherPAT who
   witnessed theevent,b0th em ailed theirm anagezBitlyBelcherand stated thatI'
                                                                             Iickshad

   calledPetryanidiot.Employetacdontakentotemedycomplaintsofharassmentarejudged
   underthe citcum stancesofthe hatassm entand the com plaint,H ennem an v.Airtzan

   Airwa s,705F.Supp.2d1012,1034(E.D.W is.2010),andunderthesecircllmstances,
   Cntilion had no clea.
                       rindication ofwho wasatfatzltfortheincident.

          I-licksclnim ed to have com plained m otethan onceofracialhatassm entbutteceived

   no zesponse,and so finally com plained ditectly to CEO A gee.5ECF N o.61-22.Tl'lisem ail

   wassentA ugust24,2015,threew eeksaftezlniscom plaintsto H R ConsultantPowersand lzis

   7-safecall.Id.Itwasimm ediately forwarded to Shepardson andPowers.IZ Shepardson
   com m enced an investigadon into Hicks'scom plaintsthatincluded interviewing two A frican-

   Am erican em ployeesasto whetherthey had experienced racialissues.ECF N o.57-11,at71.

   Theinvesdgadon found no evidenceoftace-basedharassm ent.J-I.
                                                              LThecolzttcannotagree
   thata thtee-week delay between complaintand acdon consdtutesnegligence.N eithercan the

   colzrtagree thatan acdon taken wasinsufficientsim ply because I-Iicksdid notagreewit.h the

   endresult.<T(Ajgood-faithitw esdgatbn ofalleged harassm entm aysadsfythe...response



   5H icksm adea7-safecallreport
                               ingbeinghatassed and speciEcallyrecounG ghisincidentwithPerryonAugust7,2015.
   ECF N o.61-32.


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      standatd,even iftheinvesdgation tutnsup no evidenceofhatassm ent...''H atdsv.L&T,

      W in s lnc.,132F.3d978,984(4thCir.1997).
              N evertheless,H ickssentanotherem ailto Agee six m onthslatet,on Februâry 9,

      201f.ECF N o.61-21.Following this,Hickswas switched to weekend slzifts,6which seem ed

      to end tlw alleged harassm entfotsevezalm onths.ECF N o.57-4,13-14.Catilion m anagets

      continued to check in w ith H icksfollowing the change;See ECF N o.57-11,at21 & 68

      (doctzmenéngmessagesandmeetingswit.hI-licksfollowingthechangeinwotkschedule).
      J-
       licksexpetience no futthersignificantdifficultiesun1 hislastaltercadon with M use.

      FolloNving thisconftontaéon,Catilion againstresponded with an im m ediateitw estigatbn

  .   tlùtinvolved interdew swith H icks,M use,and allotherwim esses.ThatI'Iicksdid notagree

      with the tesultagain doesnotlead to theconclusion thatCarilion w asnegligent.H ards,132

      F.3d at984.N othing in Carilion'shandling ofthesituation indicatesitfailed to show due

      careitlcontrolling itsown work envitonm ent.                      *

              Forthereasonsexplained above,Hicksfailsto m akeaptim afacie case ofahosi e

      w ork envitonm entunderTitleV11.

                                                         B.

              To establish a ptim a faciecaseofTitleVIIracialdiscrim inaéon,I-licksm ustshom

      (1)membershipinaprotectedclass;(2)sadsfactoryjobperformance;(3)adverse
      employmentacdon;and (4)differenttrea% entfrom similarlysittzatedemployeesoutsidethe
      protected class.Sandersv.TilcrasTechnolo SoludonsCo oradon,725 Fed.App'x 228,


      6According to therecord ofam eedng conducted on M arch 7,2016,preparedbyStephen Lovem ,Rogerhad'fchosen to
      worktheweekend shiftsothpthedoesnothaveto dealwith someofthepersonalitiesthatheO dsdifhculttowork
      with.''ECF N o.61-24.




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   230(4th Cit.2018).UnderTitleVIl,I'ticksmaymaketlnisshowingw1t.11directandindirect
   evidenceofanim usottluough thebutden-shifting fram ework ofM cD onnellD ou 1asCo

   v.Gteen,411U.S.792(1973)(theffM cDonnellDouglasframework').UndertheMcDonell
   D ouglasfram ework,an em ploym entdisctim ination plaindffhastheiniéalburden of

   producéon.Mitchellv.DataGeneralCo .,12F.3d1310,1315(4thCir.1993).Ifsuch a
   plnintiffbringsproducesinpirectevidencethatestablishesa ptim a facie case of

   discHm ination,a ptesum pdon in favotoftheexistence oftheunlawfuldisctim inaéon arises

   and the burden ofptoducdon shiftsto theem ployerto ardculate alegitbm ate,

   nondiscrim inatoryreason fortheadverseem ploym entaction.St.M ary'sH onorCenterv.

   H cks,509U.S.502,507(1993).Assllmingtheemployerproducessuch areason,theburden
   shiftsback,to theplaindffto show thatthisreason ispretexm al.ida
           Overthe course ofI'
                             Iicks'sem ploym entatCariEon,only two em ploym entacdons

   could potendally qualifyasffadvetse.''The flrstwashistransfetfrom weekday shiftsto

   weekend shifts,in response to hiscom plnintsregarding harassm entfrom hisfellow

   em ployees.The second wasllisevenm alterminadon.The couttwilladdresseach acdon in

   tarn.

           Priorto I'
                    licks'stetm inadon,the only change in hisem ploym entwasa m ove to the

   w eekend sllift.A sdiscussed aboye,thechangewasm ade following I'Iicks'sinidalcom plnints

   ofharassm entand wasintended to rem ovethepotenialforfutare conflicts.Tllischangein

   scheduleacttzally resulted in Hicksreceiving agreaterhourly wage.W hen asked aboutthe

   change dudng llisdeposiéon,Hicksagreed thatthe reassignm entw asaposidve

   development.ECF No.61-1,at190g-licksreferdngto theweekend shiftsas<<ablessing').


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   LIicks'sreassigmnentto theweekend slliftcannotserve therole offfan adverse em ploym ent

   action''in aprim afacie case forracialdisctim inadon.W agstaffv.City ofD urham ,233 F.

   Supp.2d739,746(f<A fcleartrendofauthority'holdsthataYansferthatdoesnotinvolvea
   dem odon in fot'm orsubstancegjcannotriseto thelevelofamateriallyadverse
   employmentacdon.''')(citaéonsomitted).
         I-licks'sem ploym entterm inadon,on the otherhand,w asclearly an adverse

   em ploym entacdon.A sstated above,once aplaindffin aTitleVIIracialdisctim inadon

   acéon ptesentsa prim a faciecase,theburden shiftsto Cnrilion to ardculate alegitim ate,

   nondiscrim inatoryreason forthe advetse em ploym entacdon.H illv.Lockheed M artita

   Lo 'sdcsM     t.lnc.,354F.3d277,285(4thCit.2004).Thisisaburden ofproducdon,not
   persuasion,and onceitism et,Iqicksm ustshow by apreponderanceofthe evidence thatthe

   stated reason isnotsincere,buta pretextfordisctim ination.Id.Carilion arguesthatHicks

   cannotshow differentttea% entftom sim ilarly situated em ployeesoutside the protected

   class,poinéng to thetermination ofPerdue afterhepushed I'Iicks.E CF N o.62,at6.

   Carilion also atgt
                   'zesthatHickswasnotofferingsadsfactoryjob performancebecauseoflais
   confrontadon with M use and otherdifficuléeswith coworkers.ECF N o.'57,at16.

   RegardlessofwhethetH-icksm ade aptim a facieshowing,I-licks'sclaim failsbecause

   Carilion hasoffered a legitim ate,non-disctim inatory,and non-pretexm alreason forH ck's

   te= inadon.

         Asrecounted,Iqicks'stefvninadon occurred afterllisJuly22incidentswith M use,
   dlatingw hich threewitnessesclnim ed Iqicksthreatened M use,and lateranotherwitness

   clnim ed I'
             Iicksconfronted and threatened M use again.Following these episodes,I'licksw as



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   suspended and escorted offcom pany propertp H R ConsultantPowersinvesdgated the

   incidentsand interdewed Iqicksand six otherem ployees.Based on theinvesdgation,Powers

   concluded thatIqickshad been theaggressor.SetniorDirectorLovern consulted wit.h llis

   superior G G Scottand VicePresidentShepardson.Thedecision wasm adethatHicks

   reptesented apotenéalsafetyrisk and thushisem ploym entneeded to beterm inated.

         Theconclusion thatIqickshad violated Cntillon'sworkplaceviolence policy

   representsalegitim ate,non-cliscriminatoryreason fotdischarge.H olland v.W ash.H om es,

   lnc.,487F.3d208,216-17(4th Cir.2007)tfttingsomeoneforthreateningbehaviorisa
   legitimate,non-disctiminatoryreason fortermination).I-licksoffersnoreason tobelievethis
   explanadon ispretexm al;nothing in the record suggeststhatLovern,Scotq orShepardson

   didnotbehevethatLlicksrepresentedapotendalsafetydsk.Seeidzat213rflplaindffj
   ptesented no evidencethatcould show thatgdefendant's)legitim ateprofferedreason for
   flringghimjwasdisingenuous...'?).Hicksfailstodefeatsummaryjudgmentunde.
                                                                         rthe
   M cD onnellD ou 1aspretextfram ework.

                                               C.

          CountTwo failsbecause Carilion hasoffeted anon-discHm inatoryreason fotV cks's

   discharge,andM ckshasfailedtooffezsufûcienteddencefozareasonablejurytoconclude
   thereason waspretextual.TheM cD onnellD ou lasfzam ewozk desczibed above appliesto

   130th race cliscrim inadon cbim sand retaliatory discharge cbim s.Foster,787 F.3d at249.
                                                                                   J
   Pow ers'sinvesdgaéon into M cks'sconfrontation with M use m akesperfectly plain the

   teasonsforwlzich Carilion fued I'Iicks.ECF N o.57-11,at73-78.Powersstatesin her

   slnmmaryoftheitw eségadon that('itwasstated by fou.
                                                     rwitnessesthatgl-licks)wasthe


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   aggzessorandwasloud and V M useq'sface,''andthatTftheseallegadonsfollow apattetn of
   gflicksl'sbehaviorwitnessed in othersituadonsinwhich gl-licksjhasbeen itwolvedinthe
   past.Id.at78.The decision to tetm inate Hicks'sem ploym tntwasm ade dueto theresultsof

   tlnisitw esdgadon.ECF N o.57-5,at8.O fparticularconcern to Lovern in m alung the

   decision to ftzeH ckswasfftlzethreatofviolence''- hewenton to tesdfy,ffAny tim e thereis

   apotenéalsafetyissue...1can'ttrtzstthatyou gjatenotgoing to do thatagain,and1can't
   putmy patientsatrisk.''Id.at7-8.

           I-licksarguesagninstCarilion'sasseréon ofalegitim ate reason forterm inadon by

   saying thatCntilion suspended Idicksrathqrthan M usebecause M use had neverm ade atace

   discHm ination com plaintand thatCnrilion f<nevereven had a m eeting to decidewhatto do

   aboutthe em ployeew ho called Llicksa bitch assn****r.''ECF N o.61,at25.Hicksgoeson

   to cbim thatfçthe alleged fviolence'iscom ical''becauseffH icks...nevertouched M use,nevet

   m etin theparlring lot,no one called thepolice,and PIicksdid nothing to try to stop M use

   from going to theoffke.''1d.N oneofthisreflectson Cntilion'spercepdon oftheincident

   between llicksand M use.W hatm attershereisnotthett'
                                                      uth otfalsityofCarilion'sbelief

   thatM ckswastheaggressor,butthatCarilion sincerely held tlzisbelief H olland v.W ash.

   Homes,Inc.,487F.3d 208,220 (4th Cir.2007)rfp efendantqhasputforth uncontested
   evidencethatittetminated gplainéffjbecauseitsdecisionmakerbelieved thatTlninéfflwas
   maldngthreatstowatd llissupervisot.w hether(Plaindffjactuallymadethesethteatsis
   itrelevantin thiscontextbecauseitisuncontested thatthe decisionm akerbelieved thathe

   c1id.'').




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         A sstated above,Carilion hasoffered evidence ofalegidm ate,nondiscrim inatory,

   non-pretextualreason fozfiting H cks.H ckshasfailed to tebutCmtilion'sclnim thattllis

   reason wasgenlpine and sincere.AccorHingly,Count11fails.

                                             IV.

         Fottheteasonsstated above,the courtnow GRAN T S Csrilion'sm oéon.Both

   countsofI'Iicks'scom plaintare D ISM ISSED and tbiscaseisSTRICK EN from the acdve

   doèket.

         A n appropziate O rdershallbeissued tlzisday,

                                           Entezed:'rlais;7 dayofMarch, 2019
                                     '




                                      4 / .*4.ee7A.
                                                ..
                                                                       '
                                                                       p'%*

                                           M ichaelF.Urb      '
                                           ChiefUn/itedztatesDistdctludge




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